     Case 1:06-cv-03687-NGG-LB Document 118 Filed 08/02/12 Page 1 of 1 PageID #: 2749




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MICHABL A. CARDOZO                               Lnw Dnp¡.RTMENT                                   A   ss is            I io n C ounse I
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                                                                          August 2,2072

         Bv Electronic Csse Fílíne
         Honorable Nicholas G. Garaufis
         United States District Judge
         Eastern District of New York
         225 CadmanPlazaBast
         Brooklyn, New York ll20l

                                    Re     Jeter v, New York City Department of Education..e/ ø/.
                                           Docket No: 06 Civ. 3687 (NIGGXLB)

          Dear Judge Garaufis

                             I
                          am an Assistant Corporation Counsel in the office of Michael A. Cardozo,
          Corporation Counsel of the City of New York, assigned to represent defendants in the above-
          referenced action. This letter is submitted to inform the Court that the parties have reached a
          settlement. The parties were schedule to begin trial on August 13,2012.

                             Thank you for your consideration of this matter

                                                                                      submitted,




                                                                          Assistant Corporation Counsel

          cc          Bryan Glass, Esq.
